July 30", 2019

Your Honor, ©
lam writing to express my deep regret for the actions that have led me here and for the harm

those actions caused to others. | am guilty of these acts and through this experience have come to see
much more clearly that my actions create a “ripple effect” of harm.

In the nearly two years since this process began, | have been working assiduously to ensure all
debts are paid and to ensure that | never again make the choices | have in the past. | have continued to

do eveceurestcontp bea providing mother ai support to my son, Fynn ,and | have sought to make

 
fon

Halifax Dog Squad Inc,

PO Box 418

South Boston VA 24592
See boston VA 24592

 

All Dogs Matter

January 15, 2019

To Whom This May Concern,

Saving lives.

  

Sincerely,

  

President-HDS

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| am writing regarding my experiences with Dr. Paula Bullock at Affordable Animal Hospital.

| started going to Dr. Bullock because of the positive experience my friend had there. He brought his
sick dog in and Dr. Bullock was immediately able to diagnose her, perform surgery , and send her home
with necessary medication. She was exactly right with her diagnosis and treatment and we still have
this dog today because of her.

| am very protective and concerned with my dogs, so | am very particular with veterinarians. But, the
experiences I've had is the reason | continued to bring my pets to be cared for by Dr. Bullock.

| knew | was fortunate to have found such a gem!

First, | brought my cat there. Again, she immediately knew the issue. She was able to prescribe
medications for my cat's thyroid issue (mind you, another "high end" vet incorrectly told me it was her
heart).

Then she was able to quickly schedule dental surgery, no waiting weeks to get in. She did only the
necessary tests (again, unlike so-called “high end" vets) and provided me with necessary medications to
administer to her. | was able to bring my healthy cat home right away.

| also brought a dog there. He needed repeated visits and Dr. Bullock would ALWAYS make time for him.
It didn't matter the time of day, whether she'd get to leave at a reasonable hour, or even get to eat
dinner.

| was never turned away. There were many nights (probably true of most of her days) in order to
accommodate her patients. And | always felt like | had access to her, regardless if | just "showed up" |
would wait until she finished seeing a patient or performing surgery, and there she was. She would
even call me late at night (even during the night) to keep me updated on my pets condition. She gave
out her personal cell phone number!

This was in stark contrast to the "high end" vets | previously mentioned: My dog was having seizures on
a Saturday morning. | wanted to bring her in to see a vet where | had been taking her for years. They
wouldn't fit me in and | had to bring her to the Emergency vet instead. Months later, when | had to put
my dog to sleep, they made me make an appointment which was hours later. Even once | got there, |
had to wait. Then ! was less than happy the process.

When | went into Affordable Animal Hospital and found out that Dr. Bullock was no longer working
there, | cried. She gave A+ service to a population of people who love their pets but don't have a high
income. She could have easily worked in a "high end" vet in a wealthy community and gotten paid a lot
more money.

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“y treatment.
ce

What a gift to Durham!

Then, | cried when | found out what she was going throu
her being anything but honest and trustworthy, kind an

gh. | will testify that | never once experienced
anyone else. | never saw her turn anyone away.

d considerate anytime | was there. Not to me or

Her greatest fault is being too trustworthy person! She believes the best in everyone...regardless if they
have earned it or deserved it.

Clishre Walter

   

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mente”

   

fry:

Kelli Oakley <koakley @ personcounty.net>

Since the beginning of 2016 we have been working with Dr. Paula Bullock at Affordable Animal
Care in Durham NC. This group has been able to pull several animals from us that were about to
be cuthanized and has been able to place them in loving homes. She has also been providing her
services of spaying and neutering several of our adoptable animals so that they are more adoptable
at no [ee to our shelter. W ¢ have had a great working relationship and are very grateful for
everything she has done for the Person County Animal Services,

Please contact me directly if you have further questions.

   

cy

~ Shelter Manager

Person County Animal Services
2103 Chub Lake Road
Roxboro, NC 27574
336.597.1741 Phone
336.597.3319 Fax

Facebook Page "Person County Animal Services”
Follow us on Twitter @ShelterPC

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#*

EMC

March 3, 2019

Re: Dr. Paula Bullock

To whom it may concern,

I write concerning Dr. Paula Bullock whom I have known for over 25 years. I first met Dr. Bullock
in 1992 shortly after I began work as a resident in small animal surgery at North Carolina State
University’s Veterinary Teaching Hospital. At the time, Dr. Bullock was in her fourth and final year
of veterinary school, working through the small animal surgery rotation. As a student on our service,
she impressed me as very diligent and appropriately skilled in her patient and client care.

My professional interaction with Dr. Bullock continued beyond her studies after she assumed
ownership of Greenwood Animal Hospital (GAH) and I was then serving as a referral surgeon in
private practice (Carolina Veterinary Surgical Service). Beginning in March, 2000 and extending
through 2002 when she sold the practice, I provided surgical consultation at Dr. Bullock’s request,
seeing patients and performing specialty surgical procedures in her hospital facility. According to
my records, that interaction over two years involved a total of 25 patients. In early 2016, our
professional collaboration began anew with Dr. Bullock requesting consultation for patients
presenting at a clinic she had established in Durham, NC (Affordable Animal Care) with the chief
aim of serving low-income pet owners. That relationship continued until I left North Carolina in
early 2018 to take my present position as Associate Professor of Surgery and Bioethics at Oklahoma
State University. During those latter years, my wife and I connected with Dr. Bullock on a personal
level and had her in our home on multiple occasions.

In my interactions with Dr. Bullock, I have found her to be a fine colleague and a very trustworthy
individual. Her many years of service to a greatly underserved segment of the pet-owning population
reflect not only high ideals and ethics, but also great personal resolve and concrete acceptance of the
professional’s call to serve. In both professional and personal dealings, I have had no occasion to
question Dr. Bullock’s character or conduct. To the contrary, I have encountered an upstanding
individual with a heart for people and pets.

Thank you for your time in considering this letter of reference.

 

Erik M. Clary, DVM, PhD
Diplomate, ACVS

3619 S Fountain View Dr Stillwater, OK 74074
Phone: 919-384-9267  emclary@hotmail.com

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aes,

From: Nicole Robinson <nicole928robinson@gmail.com>
Date: December 9, 2018 at 6:06:09 PM MDT

To whom it may concern.

| help advocate for dogs at Rowan County,NC . These dogs are overlooked and depend on rescue
partners to make it to safety. Paula has worked with us for many years no

and has been amazing. She has pulled dogs with funds from her own pocket( most only come with
minimal pledges) vets them accordingly and finds them homes. The shelter does minimal vetting and
she always has picked up and completed treatments . She has even vetted other rescues dogs for
discounted rates or free of charge if she cant take the dog. She is a huge asset to the rescue community.
Paula helped save 80 plus dogs per month up until this nightmare occurred and her NC Vet License was
suspended in August 2018 for issues that occurred years prior. Paula is a very busy person, juggling a
business, her beloved son’s life, saving pets and helping others, Working with the veterinary
community, | know first hand that clinics are often disorganized chaos and issues can arise. | also know
that with the amount of money Paula puts into these pets and helping TEAM ROWAN, that what she is
being accused of make no sense. Paula is a very kind, generous person with a heart of gold. She is
really smart and introverted and focuses on the task at hand. Her clinic was so busy. She was always in
the back area helping pets. We really miss and appreciate her being local. However, with all going on,
she still helps us pull and save dogs. We transport many dogs now to the state in which she lives and
works and she cares for and finds homes. There is not another Vet that I have ever met that gives and
cares as she does, Please take all of this into consideration and know that we need Paula in the
community working to save lives. Contact me at any time with any questions.

Nicole Robinson

Team Rowan
4438206553

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Angela Elkins
210 S. lredell Avenue
_..spencer, NC 28159
=mail Angela.E.Elkins@ gmail.com
hone 703-725-2421

May 26, 2017

To Whom it May Concern,

This letter is provided as a reference for Ms Paula Bullock, owner and veterinarian at Affordable Animal Care Spay
Neuter Clinic at 2005 N Pointe Dr #8, Durham, NC 27705, and Director of George’s Place Animal Sanctuary a 50103
Nonprofit at 1737 Allen Jarrett Drive Mebane NC 27302.

Since relocating to North Carolina in June of 2015 | have been working as a volunteer, currently focusing on transport with
many rescues and shelters, primarily within Rowan County NC and other counties. | first met Ms Bullock when she
reached out to shelter advocates via social media contact to offer assistance in saving two dogs facing imminent
euthanasia. This was approximately March 15" of 2017. | initially transported two dogs pulled under her rescue, and met
her staff member Samatha Wheeler for transport handoff. Subsequently, | have transported other dogs and cats directly
to Ms. Bullock at the clinic.

it was during these transports and conversations both electronic and phone that ! met and gained the further

acquaintance of Ms. Bullock and her staff. She immediately made herself available to address standard veterinary and
- even urgent surgical needs of some of the animals that have come into the local shelter, most often offering her services

‘4sither pro bono or at a steeply discounted rate. On one occasion | transported a medically urgent cockapoo “Sweetie” aka
‘Skye to Ms Bullock’s Clinic for care that she was providing simply as assistance to another rescue, Sweet Souls Rescue,
Ms. Amber Gisher. This animal required in excess of $3,000 of services for which Ms. Bullock was willing to provide free
of charge or for an ultimately nominal agreed upon amount.

| have also used Ms Bullock personally for veterinary services for a young puppy which | saved from a local yard sale site
and for whom Ms Bullock handied the primary vetting and spay. Again offering to do so for free, although | did provide a

discounted payment. Ms. Bullock clearly cares about helping the animals and working with the community and rescue to
keep the cost of medical needs reasonable and affordable — even so far as providing them at no cost.

As to the health and well-being of the animals which | transported, several have been adopted; | have even been
contacted by one of the adopters with their happy ending. Several are in foster and a few remain under the care of Ms.
Bullock and staff while they await placement. | have visited the clinic on numerous occasions and have interacted with
many of the animals Ms Bullock is working to assist. Her clinic is always busy and active with both clients and rescue
alike, and always has appeared fully staffed.

in the time that | have made the acquaintance of Ms Bullock | have been willing and eager to work with her on behalf of
the abandoned and neglected animals that have shown up in the shelters and sales sites of North Carolina, as | believe
her goal and mission to help pets and their owners by offering her services is one that has great impact to the community
and ig necessary to continue to save these lives.

 

Angela Elkins

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To whom it may concern,

In 2011, .a freckled face 5 year old and | met at Orlando Water Sports Complex. Fynn, an amazing little
athlete and | met for wake board training. Fynn and | became inseparable. Fynn was an amazing little
athlete at even a young age and because of who he is. | knew he would go far in life. Behind Fynn was
an amazing women, Paula. Paula is one of the kindest, smartest, most caring women | have ever met.
She and | became fast friends and after just a few years became a family. Over the years, | have
watched her kindness towards any one in need and save any and every animal that crosses her path.
Paula is kind and generous, caring and capable of achieving anything she plans. She starts and manages

several successful businesses, takes care of her family, takes care of her clients and their many pets and

give 200% of her self to her son. She puts everyone else first.

It breaks my heart to watch the continued attacks she has had to weather over the past several years.
She has a very bad relationship with her ex husband and he has tormented her continually since t have
known her. Others have sued or harmed her out of greed and jealousy. Paula even at her darkest
moments, when she thinks of or sees that freckled faced boy, holds her head up and keeps moving
forward. “Fish don’t swim backwards” she always says. Paula is very spiritual and has a deep faith. She
knows that God is with her and that gives her comfort and strength.

Paula started Affordable Animal Care out ofa need to help people and pets. We currently have 16 pets
of our own and 22 pets we care for that are fosters waiting for forever homes. Paula relates to pets
because they give only love. Paula sold the clinic in April of 18. | found ita blessing as juggling that
business while living half of the year in Colorado was a open liability. Paula wanted to keep the clinic to
provide medical care for people in need but she could not continue this stress of being liable for others.
Paula has helped Fynn become the best. He is a many time world champion in Cable and boat
wakeboarding, slope and half pipe snowboarding. He has set many world records and is well sponsored.
Fynn just won 3“ in the Burton Junior Jam and placed second and third respectively in slope and pipe
snow Rev Tour professional events. Fynn is the youngest athlete to do this. Paula homeschools Fynn,
makes sure he is proficiently bilingual and make sure he is caring, humble and kind. Fynn writes thank
you notes, maintains a very clean vegetation diet as not to harm an animal and is giving to all....he isa
shadow of his mom. Paula once told me , |am glad Fynn always wins, but more important than winning
is knowing that he is capable of anything he chooses to do. Paula has amazing values and the love she
has for Fynn and me, makes our world shine.

| hope you will please take into consideration that type of person Paula is and that she has a family that
needs her. Fynn is riding Junior Pro for wakeboarding this season and is being announced as the newest
member of the 2022 US Olympic team in April for half-pipe and slope-style. Fynn did not become this
hardworking and amazing without the needed love and support of his mom. Please allow our family to
Stay together as we love deeply and very much try to make each day better for alf

Calli stions

Jo on Berns
4074733765.

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Stephanie Flinkingshelt
146 Roundstone Rd
Troutman, NC 28166
276-733-1743 (cell)

02/28/19

Attention Honorable Presiding Judge

days per week.

| have witnessed Paula rescue countless animals from shelters and place them in homes. Ifa
suitable home could not be found she would keep the animal(s) at her home indefinitely. She

Paula and | became friends because our children shared the same passion for both
wakeboarding and snowboarding. Our families have spent a lot of time traveling together to

My children have Stayed overnight and traveled with Paula on many occasions. She has opened
her home and heart to my kids and treated them like they are her own. This speaks to her
character, as | do not trust most people with my children. | have never been concerned when
my children are with Paula as | know she will take excellent of them. She is one of the most
unselfish people | know when it comes to helping people and animals.

Please feel free to reach out to me directly if you have any questions either by cell 276-733-
1743 or email Sflinkingshelt@yahoo.com.

Sincerely,
Stephanie Flinkingshelt

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From: robby maschhaupt <gasman87 @gmail.com>
Date: February 18, 2019 at 9:11:55 AM EST

To: PAULA BULLOCK <Pbull96959@gmail.com>
Subject: To whom it my concern

Helio , my name is Robby I’m a Professional pit crew member in Nascar, Indy Cars and Endurance racing

during the last 33 years .
! met Paula over 15 years ago via a Mutual friend,

values. Paula has been so beaten Up Over the last 15 years. Jealousy, Sreed and resentment have lead
to people doing negative towards this quiet, classy lady. Paula has a deep faith and as she has told me

    

RO ASC UPT
Carolina Watér Sports
114 Days inn Drive

Mooresville NC 28117

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March 3, 2019

Your Honor,

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My name in Megan Grimes-De Voe and-tam writing a character reference for Paula Bullock.

I have known Dr. Bullock since 2001. She hired me as one of her nursing staff while she owned
Greenwood Veterinary Hospital. Dr. Bullock has an amazing work ethic as well as a huge heart, filled
with empathy and compassion for her patients and clients. She would routinely go to shelters in our
area and pick up animals that were to be euthanized, to have them adopted out of her clinic at her
expense.

Paula’s kind and gracious heart has made her an amazing mother as well. Paula goes beyond what many
parents would ever do to honor their child and to encourage that child to pursue his dreams. Paula
works tirelessly to support Fynn in all his endeavors. | have seen Paula beside him at his competitions
with huge hugs of love. | have heard her remind him of how important it is to say thank you, but even
more important to write an old fashioned thank you card. She is a mother that has been able to give her
son the world but is also raising a humble young man that is well on his way to being a great man.

Paula is extraordinary in that she knows how to stay grounded and be present for those of us around
her. She is a woman who sees that glass as half full and always encouraging me to smile. | am very
grateful for having Paula in my life, | know that | count on her when | am in need of someone to lean on.

Thank you for this opportunity and please feel free to contact me with any further questions.

Megan Grimes-De Voe

642 Alfani St.

Davenport, Florida 33896
(214)288-1521
megangrimesdevoe@msn.com

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sane”

Linda Newhart
P.O. Box 72654
Durham, NC 27722

February 19, 2019

To whom it may concern:

Please consider this to be a letter of reference fer Paula Bullock. | have known Paula for
approximately two years while doing some bookkeeping for her. During that time, | have
watched her perform work as a veterinarian with skill, compassion and love for each animal in
her care. | have owned dogs and/or cats for more than 40 years and have watched many other
vets at work and have not found one who can match the level of skill | see in Paula Bullock. Paula
has been able to diagnose issues and provide relief for my pets almost immediately. She is a
skilled surgeon, and an intelligent woman. She is one of the few doctors | know who wants to
Save as many animals as she can as her first choice of care, instead of choosing the easier path.

Paula is one of the hardest working individuals | know. She works long hours, and pushes herself
because she knows that she must depend on herself to take care of family. She is a woman of
great inner strength and inner beauty. You will never find her looking for a handout or asking
someone else to do the work for her. She will always be the first one to take control of the
situation and find a solution.

| feel honored to know her and call her my friend. She has had some difficult trials in her life and
it is my hope that she can continue to work as a veterinarian in North Carolina and provide the
exceptional care that is needed for the many animals who receive her care. The world could use
more people like her.

If there is any other information f can provide on behalf of Paula Bullock, please let me know.

Sincerely,

Linda Newhart

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ae

 

My name is Fynn and | am writing this letter to let everyone know how lucky | am to go through this life
with my mom. My mom is the nicest, kindest lady on the planet. She loves me to the moon and back
and makes every day perfect. My mom home schools me, makes me speak Spanish and helps me be a
better person. My mom once said that she saw “Escape from Witch Mountain” as a child and she knew
if she ever has a child that she would make life as perfect as in mansion In that movie. My mom is my
best friend, my guide, my teacher, my cheerleader and my biggest fan. She always puts me first. | do
not remember a day in which we have ever been upset with each other. We just mesh. My mom has
taught me great values. | will never drink or smoke or do drugs or get tattoos or piercings. i will honor
God, respect people and life and always cherish my mom and Jon. We have traveled the world and
done and seen so much. We have loved hard and appreciate all the great things in this life. Asa kid, my
mom would throw amazing parties for the community and me. She always made life perfect. We spend
so many hours together. My mom is my greatest fan. She taught me water sports and snow sports and
has provided me with the coaches and tools to become a world class athlete. | often tell her she does
not need to work so hard for me, but she does and she does out of love. My mom is the example by
which I live life and the person that always is there for support , a hug, a kiss or hold my hang. My mom
will always be my number one fan as | am hers as well. | owe all my success to Jon and her for providing
me with this amazing life and family.

Please ask any questions and please keep my ‘family my together My!!

Sincerely,

an DullodeAWemeare

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